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 3
 4                      IN THE UNITED STATES DISTRICT COURT
 5                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     UNITED STATES OF AMERICA,               )
 7                                           )    2:12-cr-00027-GEB
                     Plaintiff,              )
 8                                           )
               v.                            )    ORDER CONCERNING REQUEST TO
 9                                           )    SEAL/REDACT SENTENCING
     RANI RACHANA SINGH-LAL,                 )    MEMORANDUM
10                                           )
                   Defendant.                )
11   ________________________________        )
12
13             On   July    18,   2013,    Defendant    Rani    Rachana     Singh-Lal

14   (“Defendant”) filed a “Request to Seal Document” in which she sought “an

15   order allowing her to file her sentencing memorandum under seal on the

16   basis that said memorandum contains ‘protected health information,’ as

17   that term is defined within the federal Health Insurance Portability and

18   Accountability Act (HIPAA), Public Law 104-191.” (Def.’s Notice of Req.

19   to Seal Doc. 1:19-22, ECF No. 103.)

20             Since Defendant’s sealing request was clearly overbroad, an

21   order issued on July 19, 2013, directing Defendant to “submit[] for in

22   camera consideration [a] redacted version” of the sentencing memorandum

23   that she proposes be filed. (Order 1:13-22, ECF No. 105.)

24             Defendant submitted for in camera consideration a proposed

25   redacted version of her sentencing memorandum on July 30, 2013. However,

26   Defendant has not provided sufficient justification for the proposed

27   redactions under applicable law.

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 1             The public has a right of access “to sentencing memoranda
 2   under the First Amendment and the common law right to judicial records.”
 3   United States v. Dare, 568 F. Supp. 2d 242, 244 (N.D.N.Y. 2008); see
 4   also United States v. Rivera, 682 F.3d 1223, 1229 (9th Cir. 2012)
 5   (“[T]he   First   Amendment   right    of   access   applies    to     sentencing
 6   proceedings.”). “Access to such documents is warranted because they have
 7   a direct bearing on sentencing which is a quintessential judicial
 8   function. The defendant, the government[,] and the public all have a
 9   right to know what information influences a judicial assessment of
10   reasonable punishment.” United States v. Strevell, No. 05-CR-477 (GLS),
11   2009 WL 577910, at *4 (N.D.N.Y. Mar. 4, 2009). “However, the rights of
12   access are not absolute.” Id.
13             Under the common law, judicial documents enjoy a
               presumption of access which can be rebutted by
14             countervailing   factors   that  outweigh   public
               interests. One seeking to deny First Amendment
15             access confronts a heavier burden than one seeking
               to deny common law access, but access is
16             nonetheless qualified. Thus, denial of access is
               permissible if dictated by a process that balances
17             [the proffered competing] interests against the
               First Amendment right, as long as denial of access
18             is narrowly tailored to serve those interests.
19   Id. (citations omitted); see also United States v. Biagon, 510 F.3d 844,
20   848 (9th Cir. 2007) (discussing substantive requirements to permit
21   closure/sealing under the First Amendment). “Regardless of whether” the
22   proposed redactions are analyzed under the common law or First Amendment
23   right of access, “[Defendant] must demonstrate that [her] interests
24   outweigh public disclosure.” Strevell, 2009 WL 577910, at *4.
25             A defendant’s privacy interests “may justify the nondisclosure
26   of sentencing memoranda.” Dare, 568 F. Supp. 2d at 244. “However, a
27   formulaic recitation of such an interest will not suffice to justify
28   sealing.” Strevell, 2009 WL 577910, at *5.


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 1                    Here, “Defendant has chosen to introduce . . . medical [and
 2   other] information [she considers private] in an attempt to mitigate
 3   [her] sentence.” Dare, 568 F. Supp. 2d at 244. Defendant has not shown
 4   that her “privacy interest[s]” outweigh “the public right to th[is
 5   information],”         which    she   has     submitted     to   “inform   the   Court’s
 6   sentencing.” Id.; see also Strevell, 2009 WL 577910, at *5 (“[A]
 7   defendant’s privacy rights are generally subservient to the higher
 8   public value of access.”); United States v. King, No. 10 Cr. 122 (JGK),
 9   2012 WL 2196674, at *2-3 (S.D.N.Y. June 15, 2012) (denying a defendant’s
10   request to file sentencing documents under seal where the documents
11   “relate to medical conditions that the Court [was] asked to consider in
12   arriving at the sentence”).
13                    Accordingly, Defendant’s request to file the proposed redacted
14   version of her sentencing memorandum is denied since she has not shown
15   “good cause” for the filing as prescribed in Federal Rule of Criminal
16   Procedure 49.1(e). No later than July 31, 2013, Defendant shall file on
17   the public docket an unredacted version of her sentencing memorandum. In
18   the alternative, no later than July 31, 2013, Defendant may withdraw
19   from       the   Court’s   in   camera      consideration    her   current   sentencing
20   memorandum and may file an alternative sentencing memorandum on the
21   public docket which does not include information that Defendant opines
22   is private and that does not appear pertinent to sentencing.1
23   Dated:       July 30, 2013
24
25                                            GARLAND E. BURRELL, JR.
                                              Senior United States District Judge
26
27          1
               Certain of Defendant’s proposed redactions concern medical
28   conditions and other presumably private information which do not appear
     germane to her sentencing.

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